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                     6     AMSPEC, LLC
                     7
                     8                              UNITED STATES DISTRICT COURT
                     9                             CENTRAL DISTRICT OF CALIFORNIA
                  10
                  11       STEPHEN HERNAEZ, an individual,               Case No. ________________
                  12
                                              Plaintiff,
                  13                                                      NOTICE OF REMOVAL OF CIVIL
                           v.                                             ACTION UNDER 28 U.S.C. § 1441
                  14
                           AMSPEC, LLC, a corporate entity
                  15       form unknown; and DOES 1-50,
                  16       inclusive,
                  17                          Defendants.
                  18
                  19                TO THE CLERK OF THE ABOVE-ENTITLED COURT:
                  20                PLEASE TAKE NOTICE THAT Defendant AmSpec, LLC (“Defendant”)
                  21       hereby removes to this Court the state court action described below. This Court has
                  22       original jurisdiction over the state court action pursuant to 28 U.S.C. § 1332(a) due to
                  23       the diversity of citizenship of the parties. Accordingly, the state court action may be
                  24       properly removed to this Court pursuant to 28 U.S.C. §§ 1332, 1441 and 1446.
                  25       I.       STATEMENT OF JURISDICTION
                  26                This Court has original jurisdiction over this action under the diversity of
                  27       citizenship statute. 28 U.S.C. § 1332(a). In relevant part, the diversity statute grants
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                     1     district courts original jurisdiction over civil actions where the matter in controversy
                     2     exceeds the sum or value of $75,000, exclusive of interest and costs, it is a civil action
                     3     between citizens of different states, and no defendant is a citizen of the State of
                     4     California. As set forth below, this case meets all of the diversity statute’s
                     5     requirements for removal and is timely and properly removed by the filing of this
                     6     Notice.
                     7     II.    VENUE
                     8            The action was filed in Superior Court of the State of California, Los Angeles
                     9     County. Venue properly lies in the United States District Court for the Central
                  10       District of California pursuant to 28 U.S.C. §§ 84(c)(2), 1441(a) and 1446(a).
                  11       III.   PLEADINGS, PROCESS AND ORDERS
                  12              On August 20, 2020, Plaintiff Stephen Hernaez (“Plaintiff”) commenced an
                  13       action by filing an unverified Complaint in the Superior Court of the State of
                  14       California, County of Los Angeles, entitled Stephen Hernaez, an individual, Plaintiff,
                  15       v. AmSpec, LLC, a corporate entity of form unknown, and DOES 1-50, inclusive,
                  16       Defendants, bearing Case No. 20STCV31672 (the “Complaint”). The Complaint
                  17       asserts the following causes of action: (1) age discrimination in violation of Gov.
                  18       Code §12940 et seq., (2) failure to prevent discrimination in violation of Gov. Code
                  19       §12940(k); (3) failure to pay minimum wages and overtime wages; (4) wrongful
                  20       termination; and (5) violation of Business & Professions Code §17200 et seq.
                  21       Plaintiff seeks “actual, consequential, and incidental damages, including but not
                  22       limited to loss of earnings and employee benefits, according to proof, but no less than
                  23       three hundred thousand dollars.” (Declaration of Christine A. Kohler (“Kohler
                  24       Decl.”), ¶ 2; Exhibit A at Prayer for Relief in Complaint.) He also seeks damages for
                  25       humiliation, emotional distress, and mental and physical pain and anguish, and loss of
                  26       sleep, punitive and exemplary damages, attorneys’ fees and costs of suit. (Kohler
                  27       Decl., ¶ 2; Exhibit A at ¶ ¶ 57 and 58 and Prayer for Relief in Complaint.)
                  28              On February 10, 2021, Defendant was served with a Notice of Case
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                     1     Reassignment. (Kohler Decl., ¶ 4; Exhibit C.)
                     2             On March 4, 2021, Defendant filed in the Superior Court of California, its
                     3     Answer to the Complaint. (Kohler Decl., ¶ 5; Exhibit D.)
                     4             Pursuant to 28 U.S.C. ¶ 1446(a), the attached exhibits constitute all process,
                     5     pleadings and orders served on Defendant in this action. (Kohler Decl., ¶ 6.) To
                     6     Defendant’s knowledge, no further process, pleadings, or orders related to this case
                     7     have been served by any party. (Id.)
                     8     IV.     TIMELINESS OF REMOVAL
                     9             Defendant was first served with a copy of the Summons and Complaint on
                  10       February 8, 2021. (Kohler Decl., ¶ 3; Exhibit B.)
                  11               This Notice is timely in that it is being filed within thirty (30) days of the date
                  12       of service of the Summons and Complaint on Defendant, which was the first time that
                  13       Defendant ascertained that the State Court Action was removable under federal law.
                  14       See 28 U.S.C. §1446(b).
                  15       V.      DIVERSITY JURISDICTION
                  16               The diversity of citizenship statute, 28 U.S.C. § 1332(a), provides in relevant
                  17       part:
                  18                     The district courts shall have original jurisdiction of all civil
                  19                     actions where the matter in controversy exceeds the sum or
                  20                     value of $75,000, exclusive of interest and costs, and is
                  21                     between –
                  22                     (1) citizens of different States. . .
                  23               This action is a civil action over which this Court has original jurisdiction based
                  24       on diversity of citizenship pursuant to 28 U.S.C. § 1332(a), and is one which may be
                  25       removed to this Court by Defendant pursuant to 28 U.S.C. § 1441(b) because it is a
                  26       civil action between citizens of different states and the amount in controversy exceeds
                  27       $75,000, exclusive of interest and costs, as set forth below.
                  28
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                     1                  A.     Plaintiff Is A Citizen Of California
                     2           To establish citizenship for diversity purposes, a natural person must be a
                     3     citizen of the United States and domiciled in a particular state. Bank of N.Y. Mellon v.
                     4     Nersesian, 2013 WL 8284799, at *7 (C.D. Cal. 2013) (citing Kantor v. Wellesley
                     5     Galleries, Ltd., 704 F.2d 1088, 1090 (9th Cir. 1983)). Persons are domiciled in the
                     6     places they reside with the intent to remain or to which they intend to return.
                     7     Nersesian, 2013 WL 8284799, at *7 (citing Kanter v. Warner-Lambert Co., 265 F.3d
                     8     853, 857 (9th Cir. 2001)). Residence is prima facie evidence of one’s domicile.
                     9     Sadeh v. Safeco Ins. Co., 2012 WL 10759737, at *4 (C.D. Cal. 2012) (citing State
                  10       Farm Mut. Auto. Ins. Co. v. Dyer, 19 F.3d 514, 520 (10th Cir. 1994)).
                  11             Defendant is informed and believes that currently and at all relevant times,
                  12       Plaintiff was domiciled and resides in the State of California, County of Orange.
                  13       (Declaration of Elizabeth DeBaro (“DeBaro Decl.”), ¶ 5; Complaint ¶ 9.) During his
                  14       employment with Defendant, Plaintiff worked at the Signal Hill, California location
                  15       which is located within the County of Los Angeles. (Id.) Thus, Plaintiff is a citizen
                  16       of California for diversity jurisdiction purposes.
                  17                    B.     Defendant Is A Citizen Of New Jersey
                  18             For diversity jurisdiction purposes, the citizenship of a limited liability
                  19       company is the citizenship of its members. Johnson v. Columbia Properties
                  20       Anchorage, LP, 437 F.3d 894, 899 (9th Cir. 2006). A corporation is deemed a citizen
                  21       of its State of incorporation and the State or foreign state where it has its principal
                  22       place of business. 28 U.S.C. § 1332(c)(1). A corporation’s principal place of
                  23       business is “the place where the corporation’s high level officers direct, control, and
                  24       coordinate the corporation’s activities,” i.e., its “nerve center,” which is typically a
                  25       corporation’s headquarters. Hertz Corp. v. Friend, 559 U.S.77 (2010).
                  26             At the time this action was commenced in state court, AmSpec, LLC was, and
                  27       still is, a limited liability company organized under the laws of the state of New Jersey
                  28       with its headquarters in Cranbury, New Jersey. (DeBaro Decl., ¶ 3.) AmSpec Group,
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                     1     Inc. is the sole member of AmSpec, LLC. (DeBaro Decl., ¶ 4.) Accordingly,
                     2     AmSpec, LLC’s citizenship is based upon the citizenship of AmSpec Group, Inc.
                     3     AmSpec Group, Inc. is incorporated in the State of New Jersey. AmSpec Group,
                     4     Inc.’s corporate headquarters are located in Cranbury, New Jersey, which is where
                     5     decisions are made with respect to the direction of the Company and is where its
                     6     corporate and executive officers are employed. (DeBaro Decl. ¶ 4.) Thus, AmSpec
                     7     Group, Inc.’s principal place of business is New Jersey and it is therefore a citizen of
                     8     New Jersey for purposes of diversity. Because AmSpec Group, Inc. is the sole
                     9     member of AmSpec, LLC, AmSpec, LLC is a citizen of the State of New Jersey for
                  10       the purpose of determining diversity of citizenship.
                  11              There are no other defendants in this action as of the date of this removal. The
                  12       presence of Doe defendants in this case has no bearing on diversity with respect to
                  13       removal. See 28 U.S.C. § 1441(a) (“[f]or purposes of removal under this chapter, the
                  14       citizenship of defendants sued under fictitious names shall be disregarded”).
                  15              Thus, as set forth above, Plaintiff is a citizen of California, and Defendant is a
                  16       citizen of New Jersey. Accordingly, the diversity requirement of 28 U.S.C. § 1332(a)
                  17       is satisfied.
                  18                       C.   The Amount in Controversy Exceeds $75,000
                  19              Defendant only needs to show by a preponderance of the evidence (that it is
                  20       more probable than not) that Plaintiff’s claimed damages exceed the jurisdictional
                  21       minimum. Sanchez v. Monumental Life Ins. Co., 102 F.3d 398, 403-04 (9th Cir.
                  22       1996). Here, the Court can reasonably ascertain from Plaintiff’s Complaint and his
                  23       prayer for relief that the amount in controversy exceeds $75,000. See Singer v. State
                  24       Farm Mutual Auto Ins. Co., 116 F.3d 373, 377 (9th Cir. 1997) (“The district court
                  25       may consider whether it is ‘facially apparent’ from the complaint that the
                  26       jurisdictional amount is in controversy.”)
                  27              In his Prayer For Relief, Plaintiff prays for judgment “[f]or all actual,
                  28       consequential, and incidental damages, including but not limited to loss of earnings
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                     1     and employee benefits, according to proof, but no less than three hundred thousand
                     2     dollars.” (Kohler Decl., ¶ 2, Exhibit A, Prayer for Relief in Complaint (emphasis
                     3     added).)
                     4           Plaintiff further seeks an award of reasonable attorneys’ fees. (Kohler Decl., ¶
                     5     2, Exhibit A, Complaint ¶¶ 32, 40, 49 and Prayer for Relief.) Although Defendant
                     6     disputes Plaintiff is entitled to any recovery, the California Fair Employment and
                     7     Housing Act, Government Code section 12940, et seq. (the “FEHA”) authorizes an
                     8     award of reasonable attorneys’ fees to a prevailing plaintiff with respect to Plaintiff’s
                     9     six causes of action for alleged FEHA violations. Cal. Gov’t Code § 12965(b). When
                  10       authorized by statute, attorneys’ fees are included in the calculation of the amount of
                  11       Plaintiff’s claims to determine whether the requisite jurisdictional minimum is met.
                  12       Galt G/S v. JSS Scandinavia, 142 F.3d 1150, 1156 (9th Cir. 1998) (“[W]here an
                  13       underlying statute authorizes an award of attorneys’ fees, either with mandatory or
                  14       discretionary language, such fees may be included in the amount in controversy.”);
                  15       Brady v. Mercedes-Benz USA, Inc., 243 F.Supp.2d 1004, 1010-11 (N.D. Cal. 2002)
                  16       (stating that in deciding the amount in controversy issue, the court may estimate the
                  17       amount of reasonable attorneys’ fees likely to be recovered by plaintiff if she were to
                  18       prevail). Although Plaintiff’s attorneys’ fees cannot be precisely calculated, it is
                  19       reasonable to assume they could exceed a damages award. Simmons v. PCR
                  20       Technology, 209 F.Supp.2d 1029 (N.D. Cal. 2002), 1035; see, e.g., Beaty v. BET
                  21       Holdings, Inc., 222 F.3d 607 (9th Cir. 2000) (recognizing that an award of attorneys’
                  22       fees in the amount of $376,520 may be appropriate in FEHA where compensatory
                  23       damages were only $30,000); Mangold v. California Public Utilities Comm’n, 67 F.3d
                  24       1470 (9th Cir. 1995) (affirming $724,380 attorneys’ fee award in FEHA and ADEA
                  25       case where plaintiffs’ damages awards were significantly less); Flannery v. Prentice,
                  26       26 Cal.4th 572 (2001) (affirming award of attorney’s fees and costs of $891,042).
                  27       Plaintiff’s demand for attorneys’ fees further increases the amount in controversy
                  28       above the $75,000 threshold.
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                     1           Plaintiff also seeks punitive damages. (Kohler Decl., ¶ 2, Exhibit A, Complaint
                     2     ¶¶ 39, 58 and Prayer for Relief.) The Court must take into account punitive damages
                     3     for purposes of determining the amount in controversy where such damages are
                     4     recoverable under state law. Davenport v. Mutual Benefit Health and Accident Ass’n,
                     5     325 F.2d 785, 787 (9th Cir. 1963); Brady v. Mercedes-Benz USA, Inc., supra, 243
                     6     F.Supp.2d at 1009. California law does not provide any specific monetary limit on the
                     7     amount of punitive damages that may be awarded under Civil Code section 3294.
                     8     Boyle v. Lorimar Productions, Inc., 13 F.3d 1357, 1360 (9th Cir. 1994). Additionally,
                     9     employment discrimination cases have the potential for large punitive damages
                  10       awards. Simmons v. PCR Technology, supra, 209 F.Supp.2d at 1033. A punitive
                  11       damages award may equal as much as four times the amount of the actual damages
                  12       award. State Farm Mutual Auto Ins. Co. v. Campbell, 538 U.S. 408, 425 (2003). In
                  13       Aucina v. Amoco Oil, Co., 871 F. Supp. 332 (S.D. Iowa 1994), the defendant
                  14       employer established that the amount in controversy exceeded the jurisdictional
                  15       minimum in a discrimination and wrongful discharge lawsuit where the former
                  16       employee asserted claims for lost wages, lost benefits, mental anguish, and punitive
                  17       damages. The court noted that “[b]ecause the purpose of punitive damages is to
                  18       capture a defendant’s attention and deter others from similar conduct,” the plaintiff’s
                  19       claim for punitive damages “might alone” exceed the jurisdictional minimum. Id. at
                  20       334. Although Defendant vigorously denies Plaintiff’s allegations, including his
                  21       alleged damages, if Plaintiff were to prevail on his punitive damages claim, that claim
                  22       alone could exceed the jurisdictional minimum.
                  23             In sum, although Defendant does not concede Plaintiff’s claims have any merit,
                  24       Plaintiff’s Complaint makes certain that the amount in controversy for Plaintiff’s
                  25       claims exceeds the $75,000 jurisdiction requirement, exclusive of interest and costs.
                  26       Thus, this Court has original jurisdiction over the claims asserted by Plaintiff in this
                  27       action based on diversity of citizenship jurisdiction under 28 U.S.C. §§ 1332(a)(1) and
                  28       1441(a).
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                     1     VI.   NOTICE TO STATE COURT AND PLAINTIFF
                     2           Pursuant to 28 U.S.C. section 1446(d), concurrently with the filing of this
                     3     Notice of Removal in the United States District Court for the Central District of
                     4     California, written notice of such filing will be given by the undersigned to counsel
                     5     for Plaintiff. In addition, a copy of this Notice of Removal will be promptly filed with
                     6     the Clerk of the Superior Court of the State of California for the County of Los
                     7     Angeles.
                     8
                           Dated: March 5, 2021
                     9
                  10
                  11                                                  /s/ Christine A. Kohler
                                                                      Christine A. Kohler
                  12                                                  LITTLER MENDELSON, P.C.
                                                                      Attorneys for Defendant
                  13                                                  AMSPEC, LLC
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